                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                             3:14-CR-00152-RJC-DSC
USA,                                            )
                                                )
               Plaintiff,                       )
                                                )
   v.                                           )           ORDER
                                                )
THANH LIEN BUI,                                 )
                                                )
               Defendant.                       )
                                                )

        THIS MATTER is before the Court upon the Government’s Consent Motion to Dismiss,

(Doc. No. 42), of the Indictment, (Doc. Nos. 3, 16), as to Thanh Lien Bui, without prejudice.

        IT IS, THEREFORE, ORDERED that the Government’s motion, (Doc. No. 42), is

GRANTED and the Indictment, (Doc. Nos. 3, 16), is DISMISSED as to Thanh Lien Bui,

without prejudice.



                                             Signed: November 10, 2014




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